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American Medical Response, Inc. v. City of Stockton
United States District Court- Eastern District No. 2:05-CV-01316-DFL-PAN

HAFEY DEPO
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IN THE UNITED STATES DISTRICT COURT

IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

AMERICAN MEDICAL RESPONSE, INC.,
a Delaware Corporation,

Plaintiff,
No. 2:05-CV-01316-DFL-PAN
vs.
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Municipality ie YL ul
Defendants.

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CITY OF STOCKTON, a California ) |

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AND RELATED CROSS ACTIONS )

)

DEPOSITION OF DAVE HAFRY
DATE: Wednesday, August 10, 2005 at 9:05 a.m.

DEPOSITION OFFICER: BOBBIE JO HARR
CSR No: 6090, RMR

TAKEN AT:

GAROUTTE'S

120 North Hunter Street, Suite 104
Stockton, California 95202

GAROUTTE'S
Certified Shorthand Reporters
120 North Hunter Street, Suite 104
Stockton, California 95202
(209) 942-2100 or Nationwide (800) 942-2103
FAX (209) 942-2150

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DAVE HAFEY,
the deponent herein, having been duly and regularly sworn by

the Certified Shorthand Reporter, was deposed as follows:

** EXAMINATION BY MR. SIMON **

MR. SIMON: Q. Good morning, Chief Hafey. My
name is David Simon, and I'm an attorney representing AMR
in its dispute with the City, and I'm going to be asking
you some questions this morning.

Before we get started, have you ever had your
deposition taken before?

A. Yes.

.Q. Okay. Just to probably review to you the basic
ground rules, you understand that you're under oath; is
that right?

A. Yes.

Q. And obviously it is a question-and-answer format.
If you can wait until I finish my question before you
Start your answer, we'll have a cleaner transcript. And
I'll do my best to wait until you're finished with your
answer before I launch into my next question. And if we
can do it that way, we'll have a better, cleaner
transcript of the deposition.

And if you don't understand one of my

questions, please tell me and I'm happy to rephrase it.

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Need a break, say the word, we'll take a break, okay?
How are you currently employed?
A. Excuse me?
Q. How are you currently employed?
A. I'm employed by the City of Stockton.

Q. What's your job?

A, I'm a Deputy Fire Chief.

Q. What are your responsibilities in that position?

A. Do you want the job description or the areas
that --

Q. Let's start with the job description.

A. My responsibilities are to plan, organize and

implement Department policy as outlined by the Fire Chief.

Q. Tell me the areas of responsibility that fall
under your job duties.

A. Currently?

Q. Yes.

A. Deputy Chief in charge of the regional 911 center
which handles emergency response 911 calls for every fire
department in San Joaquin County, and all but one
ambulance provider. I'm the Deputy Chief in charge of the
Emergency -- Emergency Medical Services Division, which
takes on responsibilities of maintaining certifications
and training and recruitment for all of our Department

paramedics and EMTs, as well as the EMS Division.

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And then I'm also, up until a couple weeks ago,
an integral part in the Fire Prevention Division, as far
as the Arson Investigation Division. I help investigate
crimes, testify in court, and actually have peace
officer powers.

Q. Okay. And the fire prevention duties you said as
of a couple weeks ago are no longer under your direct
supervision?

A. Yes. We had a captain retire that was in charge
of arson, and until we were able to get someone up to
speed, then I was leading that division.

Q. How long have you had responsibility over EMS and
ambulance functions?

MR. HIGGINS: That's vague. Misstates prior
testimony.

You can answer.

THE WITNESS: I don't know. Five years, six

years.

MR. SIMON: Q. How long have you been with the
Department?
A. Fourteen years.
Q. I want to talk about the decision by the Stockton

Fire Department to enter the ambulance business in sort of

the 2002 time frame.

Did you have a role in determining whether the

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City of Stockton Fire Department should enter into the
ambulance service business?

MR. HIGGINS: Objection. Lacks foundation.
Assumes facts not in evidence.

You can answer.

THE WITNESS: I'm not sure I understand your
question, as far as I don't have a decision-making role.

MR. SIMON: Q. I'm asking what your role was.

MR. HIGGINS: If any. Same objections.

THE WITNESS: I would -- I don't understand your
question. I mean --

MR. SIMON: Q- Okay. Do you recall the City
considering entering into the ambulance business in like

the 2002 time frame?

A. Yes.

Q. Okay. Did you play a role in evaluating whether
or not that -- the Fire Department should enter into that
business?

A. Yes.

Q. What was your role?

A. I was part of discussions with the Fire Chief.

Q. Okay. Tell me what the nature of those
discussions were.
A. We would discuss system concerns.

Q. And what does that mean?

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MR. HIGGINS: Same objection. Vague.

THE WITNESS: Yes.

MR. SIMON: Q. Do you know whether the program
is -- let me back up. What's the City's fiscal year?

A. July 1 through June 30th?

MR. HIGGINS: Speak up.

THE WITNESS: I'm so sorry.

MR. SIMON: ©. So are we in fiscal year right
now, fiscal year 2006, for the City's budget purpose?

MR. HIGGINS: Argumentative.

THE WITNESS: I believe it is '05-'06, the way
they reference our budget.

MR. SIMON: Q. Okay. For the prior fiscal year,
which I guess would be '04-'05, did the emergency
ambulance service lose. money?

A. I'm not sure.

Q. To your knowledge, did any of the private
ambulance companies who had been operating in the City
before the City entered the emergency ambulance business
subsequently withdraw from providing services in the City
of Stockton?

A. When?

Q. After the City entered into the ambulance ©
business.

A. Until what point? Now?
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Q. Well, sure, let's start now.
MR. HIGGINS: Well,.it is end now, I think.
THE WITNESS: From the time we started to the
‘time we end, that's the period?

MR. SIMON: Q. Yes.

A. Yes.
Q. Who?
A. We had companies that added services after we

did, First Responder Ambulance Company and Hughson
Ambulance?

Q. So some new private companies came into the
market after the City entered the market?

A. Yes.

Q. Did some private companies leave the market after

the City entered the market?

A, Yes.
Q. Who left the market?
A. Priority One -~ I'm sorry, not Priority One.

First Responder, and Hughson Ambulance, and A-1. A-1 was

here for a. long time.

Q. Has the Fire Department ever transferred any
money back to the City General Fund to repay the initial
start-up funds that the City allocated?

A. I don't know.

Q. Have you ever included a loan repayment or a
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said, "It would be nice if you guys could get together and
figure out how to provide the best service for the

County."

Q. And those statements were made during the Board

of Supervisors meeting?

A. That's correct.

Q. On the record?

A. Yes.

Q. Do you remember which supervisors made comments

of that nature?

A. No.

Q. Did the City Fire Department ever consider
bidding a loan in response to the County RFP?

A. Yes.

Q. At the outset, when -- when the EOA was first

announced, did the Fire Department consider submitting its

own bid?
A. Yes.
Q. And did the Department feel that it could service

the entire EOA on its own without a partner?

MR. HIGGINS: Objection. That's vague. Lacks:
foundation. And calls for speculation.

THE WITNESS: Do you want to know if the
Department? Who in the Department? The Fire Chief?

MR. SIMON: Q: Well, did you?
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A. Did I?

9. Uh-huh.

A. Yes.

Q. You thought you could -- the City could serve the
entire EOA that the County had created?

MR. HIGGINS: That's argumentative. Assumes
facts not in evidence. I think you can cure it very
easily.

MR. SIMON: Well, okay.

Q. You thought that the City of Stockton Fire
Department on its own without a partner could provide the
emergency ambulance services for the entire area
contemplated in the County EOA?

MR. HIGGINS: That's vague and confusing. Lacks
foundation. Assumes facts not in evidence.

THE WITNESS: No one knew if -- no one knew until
a couple weeks ago what the credentials were going to be.
We believed that we would be allowed to compete in the
process. And they had consultants speak to us in the
County. We were never told whether it was just going to
be the greater Stockton area where we're currently
providing services or if they were going to combine them
all into one. So we discussed all alternatives on how we
would respond.

MR. SIMON: Q. Did you believe -- you personally
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believe that the City of Stockton could provide emergency
ambulance service beyond the greater Stockton area?

A. Yes.

MR. HIGGINS: Dave, except for a couple breaks,
we've been going for about an hour and 45 minutes. Can we
take another break?

MR. SIMON: Sure.

(Off the record.)

MR. SIMON: When did the Fire Department start
consideration of using a private ambulance company partner
to respond to the anticipated RFP from the county?

A. After a staff meeting.

Q. What was discussed at the staff meeting?

A. The Board of Supervisors meeting.

Q. Okay. And was the fact that the County had
decided.to create an EOA discussed at the staff meeting?

A. Yes.

Q. And was the City's -- the Fire Department's
strategy for addressing an RFP that was anticipated for
the EOA also discussed at the staff meeting?

A. Yes.

Q. What was discussed?

A. All of the alternatives for responding to the
proposal.

Q. What were the alternatives?
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A. Bid a loan, bid with another ambulance provider,
or bid with several providers. Bid within a JPA with the
other cities. I believe those were the alternatives that
were discussed.

Q. What does JPA stand for?

A. Joint Powers Agreement.

Q. As a result of the meeting, did you decide -- did

the Department decide to bid with a private partner?

A. No.

Q. That decision wasn't made at that meeting?

A. . That decision is made at the City Manager's
level.

Q. Did the Department make a decision that it

was the defendant's position that the City ought to enter
into a private partnership to respond to the EQOA?

MR. HIGGINS: That's vague.

THE WITNESS: Yes.

MR. SIMON: Q. Tell me why the Department chose
that option over the other options you've discussed.

MR. HIGGINS: Lacks foundation.

THE WITNESS: Because of comments made at the
Board of Supervisors meeting, by the Board of Supervisors
themselves.

MR. SIMON: Q. Are you referring to the comments

you testified about before our break about "Can't you guys
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MR. SIMON: Yes.

THE WITNESS: I don't recall specifically at
which meeting did we start discussing language. I believe
we were discussing the preliminary part of that language
at the first meeting. And we met continuously through
that process until we formed a finalized Agreement to take
to the Council for approval.

MR. SIMON: Q. So there were a series of
meetings that occurred during which the formalization of
the relationship was discussed?

A. Yes.

Q. I'm going to sort of broaden my question beyond
specific meetings and ask you that during those meetings
generally, what do you recall about the discussions about

particular language that was to be inserted into the

Agreement?

A. You want to know the people that were in the
meetings?

Q. No. I want to know what you all collectively

were talking about in terms of language that was to be
inserted into the Agreement. -

A. We -- through a series of these meetings, we had
the attorneys discussing language, and we were more
participants. And it would be projected on the wall, and

we would go item by item the items that they wanted in the
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Agreement. And those items are contained in the

Agreement.

Q. Do you recall there being any disputes about
particular terms that one party wanted in the Agreement

that another party objected to?

A. I don't recall any disputes.
Q. The ultimate -- I'm sorry.
A. There was discussion on language, but I'm not

aware of any, what I would characterize as a dispute.

Q. The Agreement that was ultimately reached, is
that the document that's called the Memorandum of
Understanding or the MOU?

MR. HIGGINS: I object. Assumes facts not in
evidence. I mean, it is true that in your Complaint you
refer to a document entitled Memorandum by calling it an
MOU. I think it is improper to inject that fact into
these proceedings at this time. It is argumentative.

MR. SIMON: I'm happy to take out the OU part.

Q. But a Memorandum that was signed by the parties
in May, June of 2003, is that the Agreement that you and
AMR and the parties you identified negotiated during
that -- the period of time that we've been discussing?

MR. HIGGINS: It is vague. If you have a copy of
Exhibit 1 to show him or something like that, I'm sure

that will help.
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MR. SIMON: I'm just going to ask him the
question.

MR. HIGGINS: I object. It is unfair to ask him
about a document that's already been entered into
evidence. But go ahead, without showing him the document.
Go ahead.

THE WITNESS: At my level, I'm aware that we
entered into an Agreement, and that it was signed by all
parties. And I don't know whether it is a Memorandum.

Yes, I've seen several documents, but we've
Signed an Agreement with AMR to form a joint venture for
the purpose of responding to ambulance.

MR. SIMON: Q. I've handed to you what has been
previously marked as Exhibit 1.

Do you recognize that document as the Agreement
that. you all entered into?

MR. HIGGINS: Take a look at the document.

THE WITNESS: Your question is do I recognize
this document?

MR. SIMON: Q. Yes.

A. Yes.

Q. What is it?

A. Appears to me that they took the language that we
had projected on the wall in the Fire Department

administration office and placed it in -- into an
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Agreement. But this isn't something that -- this was sent
from AMR's attorney to the City Manager. This isn't
something that was sent to me.

Q. Did you personally draft any of the language
that's included in Exhibit 1?

A. I was a participant of several people in the room
that was drafting this, and I very well might have said,

"'Includes' is ambiguous, let's put 'included,' for

grammar.”
But it was a team effort to put this document
‘together.
Q. Were you personally the person who was keeping

the master document on your computer and making changes to
it as discussions went along?

A. No, I did not keep the master document. I was a
participant in the committee with the partnership, and I
was doing the typing as they were changing it. I was a
secretary, in essence. Only one with typing skills, I
guess. And the attorneys were making changes, and I would
type it.

And I believe that AMR left with a copy of it.
Said, "Burn a copy, and here you attorneys go," I
believe. I might have e-mailed it to them after the
meeting, I do not recall. But I was not the person that

was to say drafting it, master copy, no.
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concerns.

Q. Which was 2005?

A. I believe.

Q. So after that meeting, was it your understanding
that the repayment of the start-up funds was no longer an
issue in dispute between AMR and the City of Stockton?

A. Absolutely.

I'm sorry, can I have him stop? I can't
focus --

MR. HIGGINS: Yeah. Let the record reflect that
‘Mr. Scarano is listening to the telephone -- to messages
or conversations over the telephone, and it is
distracting.

MR. SIMON: We can hear that.

MR. SCARANO: I'm sorry.

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MR. HIGGINS: It is kind of -- it is so loud that

it is disturbing the witness.

MR. SCARANO: I'm sorry.

MR. HIGGINS: Thank you very much.

THE WITNESS: Thanks, Mike.

MR. SIMON: Q. Did you ever discuss first
responder fees as part of your RFP writing team
discussions?

A. When you say "you" --

Q. Were first responder fees discussed, among the

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RFP writing team members?

A. Yes.

Q. Describe to me the nature of those discussions.

A. Brad White provided the City with a sheet, a
paper that said what they were paying for first responder
fees in other communities, and wanted to know what we felt
would come back to him with a reasonable number that we
would ---we would include in our draft budget.

Q. Did you include a number?

MR. HIGGINS: That's vague.
THE WITNESS: Did I include a number?
MR. SIMON: OQ. (Nods head).

A. No.

Q. Did the Department provide a proposal for a first
responder fee?

A. Yes.

Q. What was that proposal?

A. Per AMR's request, they asked us to cost out only
one paramedic per engine, strictly their educational
incentive pay, and we provided that number to AMR. As my
understanding, AMR agreed with the number.

Q. What was the number? .

A. I don't recall.

Q. After that exchange with the number that you

provided to AMR, was there any subsequent discussions
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about first responder fees?
A. I didn't provide the number.
Q. After. the number was provided to AMR, were there

any subsequent discussions about first responder fees?

A. Yes.

Q. What were the nature of those discussions?

A. I received a telephone call from Barry Elzig.
Q. When?

A. During the baseball camp for the City. I believe
it was the first week of June. I was at the camp when I
received the telephone call.

Q. What did Elzig tell you? I'm sorry. I'm sorry.

You said June. June of this year?

A. Yes.

Q. Okay. What did Mr. Elzig tell you during that
telephone conference?

A. He said we had to rename first responder fees.
That the Board -- they had intelligence back from the
Board of Supervisors that they didn't want to see the word
"first responder fees" in our documents. And he had
reported that if we had to have the word "£irst responder
fee" in the document, it would be a deal killer.

And I told him back that we don't discuss deal
killers at our level, and that -- I asked if he would

have the Fire Chief speak with Chief -- or Lou Meyer
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directly, that it wasn't my role to discuss deal
killers.

And he said that Mr. Scarano had e-mailed our
attorney Chris Platten with a couple agreements that
would take it ~- take the first responder fees out, the
word "first responder fee" out, and possibly supplement
the same amount of revenue that we were going to receive
in first responder fees captured under medical supplies,

renaming it “medical supplies."

Q. Was it your understanding that the parties agreed

to essentially substitute "medical supplies" for "first
responder fees"?

MR. HIGGINS: Objection. Assumes facts not in
evidence. Argumentative.

Do you know what question is pending?

THE WITNESS: No.

MR. HIGGINS: Would you like to have it read
back?

THE WITNESS: I'm sorry.

MR. HIGGINS: Please read the question back.

(Whereupon the record was read.)

MR. HIGGINS: I'll object on the grounds it
assumes facts not in evidence, argumentative, lacks
foundation.

THE WITNESS: I don't negotiate for the City.

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was my understanding that we were to pick a date for all
the attorneys to get in a room and make a decision on how
they were going to rename those. I don't have the
authority to agree to that.

MR. SIMON: Q. Do you have an understanding of
whether an agreement was reached on that issue?

MR. HIGGINS: That's vague.

THE WITNESS: Yes.

MR. SIMON: Q. What is your understanding?

A. That there was an e-mail from the Fire Chief to
AMR stating that first responder fees are off the table,
per the City Manager. I received a copy of that e-mail.

Q. What did you understand that to mean?

A. That we were going to rename the first responder
fees to something of equal value.

Q. During your RFP writing team meetings, did AMR
express its view that the City's cost structure was too
high to make the bid competitive?

A. Yes.

Q. Did the City take any steps to address that issue
raised by AMR?

A. Yes.

Q. What did you do?

A. We agreed to meet AMR's number.

Q. Did they give you a target cost number?

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A. Yes.
Q. And do you remember what that was?
A; Bidding $870 a call. There was a meeting with

the City Manager, Lou Meyer, myself, I don't know if Mike
Hakeem was in the room or not. And that's when they

clearly said that the expenses are too high to win a bid.

We need to live on one-half of the revenue that we brought

in, and we have to bid at least 870. So you had to live

on -- I believe the number was $5.3 million. "And

what" -- in that same meeting, "What you do with your

profit afterwards is your business."

Q. Were you personally involved in reducing the

Department's cost structure in order to meet that target

number?

A. Yes.

Q. What did you do?

A. We had -~- I had spoke to every captain on the
Fire Department during DC quarterly -- or during meetings
with captains to discuss why we were going to have to take
significant pay cuts that the union would have to approve
in order. for us to be able to meet the expected number
that AMR provided and to be able to be successful in our
bid for services.

Q. SO pay cuts was one area of cost reduction that

you explored?
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A. The -- the actual person responsible for the
Department for reducing the expenses in negotiating with
the union to receive cuts was Chief Hittle. He's the one
that was responsible for that. -

Q. Other than seeking pay cuts from the union, did
the Fire Department do anything else to reduce its cost
structure to meet the target number that AMR provided you?

A. Yes.

Q. What else did you do?

A. When you say "you," you're talking about me or
the Fire Department? I'm sorry. I'm not trying to be an
ass, but --

Q. Why don't’you start off with what you did,
personally.

A.. I asked our analyst to come up with a shopping
list of items that could be considered to save money so
Chief Hittle and the union would have a tool to work with
in negotiations to reduce our bottom line to 5.3.

Some of those items required meeting
concessions. Some of those items that Rick came up with
provided City Manager decisions.

Q. You referred to analyst. Is that Rick
Butterworth that you're talking about?

A. Yes.

Q. The analyst that you asked to do that?
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A. I don't know.

Q. When was the first time you heard that AMR felt
that there were anti-trust issues with the relationship
between the City and AMR?

MR. HIGGINS: That's vague.

THE WITNESS: The first time I met Mr. Scarano in
a meeting in the Round Room in City Hall.

MR. SIMON: Q. Do you remember when that was?

‘A. No.

Q. 2004, 2005?

A. I don't remember the date.

Q. What did Mr. Scarano tell you?

MR. HIGGINS: Objection. Assumes facts not in
evidence.

THE WITNESS: To clarify the "you," Mr. Scarano
sat through several meetings with me, and the majority of
the conversations were between attorneys and stuff. I
would provide some documents. So I'm not the "you."

MR. SIMON: Q. What did he say that you heard
about anti-trust issues?

A. He was --

MR. HIGGINS: Excuse me. That's vague. Are you
talking about this meeting that is described?

MR. SIMON: Yes.

MR. HIGGINS: Okay.
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THE WITNESS: I don't understand what anti-trust
is, except in the simplest forms. Mr. Scarano was
providing arguments to Christopher Platten and the
attorney for the City of Lodi and Mike Rishwain on what he
felt was a risk of someone perceiving anti-trust. But no
way am I aware of anyone stating that we have done
anything that violates anti-trust laws. They were trying
to protect themselves from the perception of that.

MR. SIMON: Q. What was your recollection of the
discussion at that meeting after Mr. Scarano raised the
anti-trust issue?

MR. HIGGINS: Assumes facts not in evidence.

THE WITNESS: Can you repeat that one again?

MR. SIMON: Q. You're at a meeting. Mr. Scarano
raises anti-trust issues. Did anybody say anything in
response?

MR. HIGGINS: Same objection.

THE WITNESS: Yes.

MR. SIMON: Q. What was said?

A. By who?
Q. Well, you tell me. Who said what?

MR. HIGGINS: That's a fragment. It is not a
clear question. It is vague.

THE WITNESS: I believe Janis, the City attorney

for Lodi, was in the room, and she disagreed. I don't
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know how she voiced that in legal stuff. I believe
Christopher Platten, who has a strong understanding of
anti-trust, told him it was nonsense, and I think that was
the word he used.

And I believe after the meeting, the attorneys
spoke. And I was still in the room, and I believe Mr.
Platten says, "Ah, you know, that was a loss leader, a
red herring," or something like that, and "We're going
to build something nice here." And I don't recall
Mr. Scarano's response to that.

But the impression I had was it really isn't an
issue, we just needed to tighten this up a little
better. That was the impression I had.

Q. Did you ever participate in any discussions after
that meeting where the anti-trust issue was discussed?

MR. HIGGINS: Objection. "The anti-trust issue"
assumes facts not in evidence. Misstates prior testimony.

THE WITNESS: I remember being in discussions
where the attorneys again were talking about what legal
entity would be the best entity to avoid the perception of
anti-trust for Priority One. They felt there was going to
be a lawsuit from Priority One, and they wanted to pick
the right entity. So that would probably be the next
evolution of anti-trust issues.

MR. SIMON: Q. Can you recall any other
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how we were going to assure the quality of paramedics
and actually had them provide ideas on how we could
write that to show that we are unbeatable in an RFP
together, because we have common goals, we have common
strategies, and we can compliment each other, and we
described how we would compliment each other on all
aspects on what's covered in an RFP: Financial,
operation, disaster, staffing, training, it was
everything.

MR. SIMON: Q. Okay. And you consider all of
those categories, disaster, training, financial to be
confidential information of the City's?

MR. HIGGINS: Objection, that misstates his
testimony. Argumentative.

THE WITNESS: Let me give you an example. Anyone
could get a list of all the radio equipment that the City
has. There's no way that they would be able to understand
the capabilities that this equipment has, as far as how it
relates to you would be actually utilizing it and
responding and how -- we specifically -- how we're going
to write how we use this equipment, that would never be --
that's extremely confidential. And it is also a matter of
national security, some of that stuff. You cannot take a
911 communication center and say the redundancy. If

someone knew the redundancy of a communication center, oh,
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my gosh. But we trusted our partner.

MR. SIMON: Q. Okay. Tell me what other
confidential Fire Department information you shared with
AMR.

A. I have. It is everything of our communication
system. Our billing process that we use and method of
collections, we actually sent AMR, upon their request.
They requested to go meet with our billing people from AIS
to discuss how we could write about our great method of
billing services and how they compliment each other.

Our billing provider provided AMR with
proprietary information to that company, upon my
direction. I specifically told AIS, "Feel free to share
everything about our process and anything that you do
for us." That's extremely confidential, especially when
you're talking about writing -- because you have to
write in our REP, your process and method for collecting
revenue.

Q. Okay. What else?

MR. HIGGINS: That's a vague fragmentary
question. I object.

THE WITNESS: Deployment strategies.

“MR. SIMON:. Q. What do you mean by deployment
strategies?

A. We specifically discussed with AMR at what level
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the system would get to with ambulance numbers, on when
these reserve ambulances placed in fire stations would be
activated to respond to calls, to maintain compliance.
If our competitors knew that, they would build
a design that would one up that threshold, specific
thresholds that were established for emergency response.

Q. What other Fire Department confidential
information did you share with AMR?

A. We discussed our strategy on how to deal with
hospital saturation and the inability for ambulance crews
fo get patients off of gurneys.

Q. What other confidential information did the Fire
Department share with AMR?

A. Salaries of specific individuals. Employees
aren't even allowed to know what someone else makes.

There is no employee that knows exactly what I make.

Q. What other confidential information did you share.
with AMR?

A. Labor relations.

Q. What do you mean by labor relations?»

A. They were aware that they were negotiating with

the union to fulfill the requirements to meet their target .

number.

Q. What other confidential information did the Fire

Department share with AMR?
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A. Might have discussed some disciplinary issues as

it relates to staffing.

Q. With respect to particular employees?
A. Employees, yes.
Q. What other confidential information did the Fire

Department supply to AMR?

A. Specific -- I'm just going to use global.
Specific documents as it relates to revenue projections
greater than one year. We projected -- gave them
projections of multi-year projections on how we felt the
‘health industry would pay.

Q. What other confidential information did the City
“Fire Department share with AMR?

A. The actual payor mix of each unit as it relates
to geography.

Q. What else?

A. Easier if I had that spread sheet.

We provided them with information that -- what
we felt comfortable with, as far as when timing out an
emergency vehicle. That's something that an RFP has to

ask for.

Q. What else?

A. Provided them with tours of City buildings as it
relates to how we would provide operations under an RFP

structure.
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Q. Any other confidential information?

A. There's tons.

Q. I want to try to exhaust your memory.

A. Then we're going to be here, because I got it.

Just a matter of dragging it out of me. I'm trying my
best.

We had them go to our fleet maintenance
facility so they have an understanding of what equipment
we have and how it will be used in an RFP.

Q. What else?

A. We discussed strategies on how we would perform
emergency dispatch in a way that we both felt that the
Board of Supervisors would want to read about in an RFP,

We discussed creating all new layers of
redundancy for our communications system as part of
enhancement to the current system that San Joaquin
County utilizes.

Q. What else?

A. . We discussed strategies for bringing others on
board to make our bid stronger, i.e., the City of Lodi and
the City of Tracy.

Q. What else?

A. We discussed the number that we felt would win
the REP, the rates.

Q. What else?
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A. My memory is coming back now to get more
specific.

I specifically remember our very first team
meeting, Brad White coming in, and stating now that we
have a Joint Venture Agreement, that we can -- we can
share confidential and proprietary information. And he
started out by saying, "Here is the way that you make
money in the ambulance industry." And he provided three
methods.

And T told him seven more.

So I described to him methods of obtaining

revenue to help enhance the service.

Q. What other confidential information did you
provide the -- the Fire Department provide to AMR?
A. We discussed our relationships that we currently

have with EMS staff and the county staff.

Q. What else?

A. We discussed our record management system and the
capabilities of that system providing data to San Joaquin
County EMS. And we discussed ways of enhancing that
system to provide the County with more information.

MR. SCARANO: Can we go off the record, for a
second?
(Off the record.)

“MR. SIMON: Q. Did AMR provide the Fire
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STATE OF CALIFORNIA )
COUNTY OF SAN JOAQUIN ) ss.

I, BOBBIE JO HARR, Certified Shorthand Reporter herein,
do hereby certify:

That on August 10, 2005, at 9:05 a.m., the witness
herein, DAVE HAFEY, was duly sworn:

That said witness' testimony and the proceedings had at
the time of such testimony were taken down in shorthand
notes by me; I thereafter caused said shorthand notes to be
transcribed into longhand typewriting, the following being a
full, true, and correct transcription therein;

That I am a disinterested person, and am not in any way
interested in the outcome of said action; nor connected with
mor related to any of the parties in said action, nor to
their respective counsel;

---000---

On August 11, 2005, all counsel were given notice of
the preparation of the deposition, and the original
deposition was available for reading, correcting, approval,
or signing in our offices until September 15, 2005.

---o000---
The witness signed the deposition and made no

corrections.

The witness and parties waived examination and reading

of the deposition at the time of the taking of the

deposition.
The witness corrected, approved, or refused to approve
the deposition by letter to me attached thereto, and copies
of the letter were sent to all counsel.
The witness failed to appear at my office.
The witness appeared in my office, made changes to the
deposition, and counsel were provided with copies of the
changes.
The witness refused to approve or sign the deposition
for the following reasons:

“Other:

IN WITNESS WHEREOF, I have hereunto subscribed my hand.
DATE:
re bbu Ue hem
BOBBIE JO HARR, CSR NO. 6090, RMR
COUNSEL: YOU WILL BE NOTIFIED OF ANY CHANGES OR CORRECTIONS
TO THE DEPOSITION. CONTACT OUR OFFICE IF YOU HAVE ANY
QUESTIONS.

